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            EXHIBIT 2
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 1                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
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 3                                       )
       JANSSEN BIOTECH, INC.,            )
 4     and NEW YORK UNIVERSITY,          )
                                         )
 5               Plaintiffs,             )
                                         )   Civil Action
 6     v.                                )   No. 15-CV-10698-MLW
                                         )
 7     CELLTRION HEALTHCARE CO.,         )
       LTD, CELLTRION, INC., and         )
 8     HOSPIRA, INC.,                    )
                                         )
 9               Defendants.             )
                                         )
10

11

12                      BEFORE THE HONORABLE MARK L. WOLF
                          UNITED STATES DISTRICT JUDGE
13

14                                      HEARING
                                      10:06 a.m.
15
                                   January 30, 2018
16

17
                    John J. Moakley United States Courthouse
18                              Courtroom No. 10
                               One Courthouse Way
19                        Boston, Massachusetts 02210

20

21

22                         Kelly Mortellite, RMR, CRR
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 1     Q.    Let me just wrap it up then with the question and answer

 2     that Celltrion so likes.

 3           You gave the opinion that any concentration of the 52

 4     required elements would be an equivalent cell culture media for

 5     Claim 1 so long as that cell culture media produced

 6     substantially the same results in Dr. Wurm's testing, and your

 7     answer was yes.     Is it still yes?

 8     A.    Yes, it is.    I mean, I would say that, you know, we talked

 9     about a plateau, and there is a plateau for equivalent

10     concentrations in terms of any element in the media.             So any

11     concentration within that plateau would produce the same result

12     that we see from Dr. Wurm's experiments.

13     Q.    So the experimental results prove that Celltrion's

14     concentrations rest on the plateau of interchangeable

15     concentrations?

16     A.    That's what I would conclude, yes.

17     Q.    And if they didn't, if there were substantial differences

18     between the Celltrion concentrations and those claimed in the

19     patent, would the experiments be able to tell that?

20     A.    Yes.    I think the experiments are sufficiently sensitive

21     to show differences.

22     Q.    Okay.   So you rely on the experiments and you also rely on

23     your own analysis?

24     A.    Exactly, yes.

25     Q.    Have you ever eliminated the claim limitations from that
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 1     A.    It's not sufficient to determine the plateau, but it is

 2     sufficient to determine if those particular concentrations are

 3     within the plateau or whether they fall outside the plateau.

 4     Q.    I want to talk to you about that, but for now I just want

 5     to make sure you and I are on the same page.

 6           Two concentration experiments is not enough to determine

 7     the width of the plateau for any one ingredient in the context

 8     of this particular cell media and this particular cell, true?

 9     A.    Yes, correct.

10     Q.    When we talk about this particular cell media, this is,

11     the length of the plateau can be specific to the kind of media

12     that's in question, right?

13     A.    There is some variation, but the principle is the same.

14     Otherwise -- Dr. Ham published this, remember, so in publishing

15     it, it becomes something which is applicable to many cells in

16     many media formulations.

17     Q.    But here we're talking about a particular media with 91

18     ingredients, right, 90 plus, right?

19     A.    In the Celltrion case, yes, yes.

20     Q.    Yes, that's what I'm talking about.       And a particular kind

21     of cell as well, correct?

22     A.    Yes.

23     Q.    Can we agree that Dr. Wurm did not run the kind of

24     experiments that are necessary to determine the length of the

25     plateau for each of the 12 or 13 ingredients we're here to talk
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 1     about?    Is that true?

 2     A.    We can agree on that, but --

 3     Q.    Thank you.

 4     A.    -- that wasn't the objective of the experiment.

 5                MR. HURST:     Can we put up Claim 1 of the '083 patent,

 6     please.    I think we need to switch.

 7     Q.    So there's 61 ingredients.      There's 52 individual required

 8     ingredients, right?

 9     A.    Correct.

10     Q.    And we can agree, I believe, that Claim 1 lists precise

11     concentrations for those 52 required ingredients, correct?

12     A.    Concentration ranges, yes.

13     Q.    Right.   And Claim 1 indicates that the inventors were

14     defining concentration ranges with precise outer boundaries,

15     correct?

16     A.    Well, when you say "precise outer boundaries," as far as

17     I'm aware they didn't do precise experiments to determine those

18     boundaries.    I mean, they do say in the patent that there are

19     possibilities for variation.

20     Q.    A natural reading of the list of concentrations is that

21     the inventors were specifying precise concentrations when

22     defining the scope of their invention.        Is that true?

23     A.    I mean, they were, as far as I know, and I'm taking some

24     reference to Dr. Epstein, who is one of the inventors, these

25     were meant to be the guidelines for estimation of that plateau
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 1     that we're talking about from Dr. Ham's work.         So they're not

 2     precise insofar as they don't define the thresholds of that

 3     plateau or the sweet spot.

 4     Q.    Let's take a look at your deposition if we can.            If you go

 5     to page 59, 21 through 68.        You and I spoke before in the

 6     context of a deposition, correct?

 7     A.    We did, yes.

 8     Q.    And during that deposition I asked you the same question

 9     that I just asked you right now.       Do you recall that?

10     A.    I don't recall it.

11     Q.    It will be up on the screen for you.        Page 59, 21 to 68.

12     Let me just blow it up so we can see it.

13               THE COURT:     Is this a page that's in the materials in

14     the briefs?

15               MR. HURST:     It is.

16               THE COURT:     So it's something that was given to me?

17               MR. HURST:     Would you like to see the transcript?

18               THE COURT:     If there's a physical copy --

19               MR. HURST:     Yeah, I can get you one.

20               THE COURT:     -- that I can keep and write on?

21               MR. HURST:     Sure.

22     BY MR. HURST:

23     Q.    Did I ask you --

24               THE COURT:     Hold on a second.    Let me get the

25     transcript.    I think I have it.     It was Exhibit 1 to what?
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 1     Exhibit 1 to defendants' submission.        What page?

 2                  MR. HURST:   It's page 59, 21 to 68.

 3     Q.    So question:    So as you go through this list, a natural

 4     reading of the list of concentrations is that the inventors

 5     were specifying precise concentrations when defining the scope

 6     of their invention, true?

 7           Answer:    Well, they defined a range as you've shown.

 8           Question:    With precise boundaries, true?

 9           Answer:    With precise boundaries.

10           Did you give those answers to those questions, sir?

11     A.    Yes.

12     Q.    So the invention as defined just in the words of the claim

13     is that there are precise outer boundaries in the words of the

14     claims.   Can we agree with that?

15     A.    Yes, there are precise ranges given, yes.

16     Q.    And what the inventors were telling the world is that

17     those concentrations that were specified in Claim 1, they were

18     important, right?     That's what they're saying.

19     A.    Well, you know, my information is that they were

20     guidelines.     I mean, I've now seen the report by Dr. Epstein

21     and a reference in the patent which indicates -- I can't see

22     the exact wording but indicates that these are guidelines.

23     Q.    Let's take a look at your transcript, page 60, 23 through

24     page 61, 4.     Did I ask you this question and did you give this

25     answer:
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 1                       CERTIFICATE OF OFFICIAL REPORTER

 2

 3                     I, Kelly Mortellite, Registered Merit Reporter

 4     and Certified Realtime Reporter, in and for the United States

 5     District Court for the District of Massachusetts, do hereby

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 8     stenographically reported proceedings held in the

 9     above-entitled matter and that the transcript page format is in

10     conformance with the regulations of the Judicial Conference of

11     the United States.

12                           Dated this 16th day of January, 2018.

13

14                           /s/ Kelly Mortellite

15                           _______________________________

16                           Kelly Mortellite, RMR, CRR

17                           Official Court Reporter

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